       Case 2:22-cv-01282-JLR Document 47 Filed 04/11/23 Page 1 of 4



 1

 2                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON
 3                                 AT SEATTLE
 4
                                                 Master File No. 2:22-cv-01282-JLR
 5   In Re: Zillow Group, Inc. Session Replay
     Software Litigation                        PRAECIPE
 6
     This Document Refers to: All Actions
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     Praecipe - 1                                  Lockridge Grindal Nauen PLLP
                                                  100 Washington Ave S, Ste 2200
                                                          Minneapolis, MN 55401
        Case 2:22-cv-01282-JLR Document 47 Filed 04/11/23 Page 2 of 4



 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2            Plaintiffs Natalie Perkins, Kenneth Hasson, Jamie Huber, David Kauffman,
 3   Ashley Popa, Jill Strelzin, Jill Adams, Jill Adams as natural mother and next friend of her
 4   minor child, H.A., and Ryan Margulis (collectively “Plaintiffs”), individually and on
 5   behalf of themselves and all others similarly situated, hereby submit this Praecipe to
 6   make the following correction to the Notice of Withdrawal filed on April 10, 2023 (Dkt.
 7   46):
 8            Attorney Karen Hanson Riebel inadvertently omitted a separate signature line for
 9   Attorney Riebel, such that her Notice of Withdrawal of Counsel was not signed pursuant
10   to L.R. 83.2. Please replace the signature page for Dkt. 46 with the attached amended
11   version, which includes a signature line for both withdrawing counsel.
12

13   DATED: April 11, 2023                  Respectfully submitted,
14                                          LOCKRIDGE GRINDAL NAUEN P.L.L.P.
15

16                                          By: /s/ Kate M. Baxter-Kauf
                                            By: /s/ Karen Hanson Riebel           .
17                                          Kate M. Baxter-Kauf
18                                          Karen Hanson Riebel
                                            LOCKRIDGE GRINDAL NAUEN P.L.L.P.
19                                          100 Washington Avenue South, Suite 2200
                                            Minneapolis, MN 55401
20
                                            Telephone: (612) 339-6900
21                                          Facsimile: (612) 339-0981
                                            kmbaxter-kauf@locklaw.com
22                                          khriebel@locklaw.com
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     Praecipe - 2                                         Lockridge Grindal Nauen PLLP
                                                         100 Washington Ave S, Ste 2200
                                                                 Minneapolis, MN 55401
     4888-3512-6109, v. 2
 Case 2:22-cv-01282-JLR Document 47 Filed 04/11/23 Page 3 of 4




ATTACHMENT 1
       Case 2:22-cv-01282-JLR Document 47 Filed 04/11/23 Page 4 of 4



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 2                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 3                                    AT SEATTLE
 4
                                                       Master File No. 2:22-cv-01282-JLR
 5   In Re: Zillow Group, Inc. Session Replay
     Software Litigation                             NOTICE OF WITHDRAWAL OF
 6                                                   KATE M. BAXTER-KAUF AND
     This Document Refers to: All Actions            KAREN HANSON RIEBEL
 7

 8

 9
            PLEASE TAKE NOTICE that Kate M. Baxter-Kauf and Karen Hanson Riebel of
10
     Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200,
11
     Minneapolis, Minnesota 55401, hereby withdraw their appearances in the above-
12
     captioned matter, previously entered on behalf of Plaintiffs Jill Adams and minor H.A.
13
     against Defendant Zillow Group, Inc. Plaintiffs Jill Adams a minor H.A. will continue to
14
     be represented by court-appointed lead counsel in this matter and all other listed counsel
15
     in this matter.
16
     DATED: April 10, 2023                 Respectfully submitted,
17
                                           LOCKRIDGE GRINDAL NAUEN P.L.L.P.
18

19                                         By: /s/ Kate M. Baxter-Kauf
20                                         By: /s/ Karen Hanson Riebel           .
                                           Kate M. Baxter-Kauf
21                                         Karen Hanson Riebel
22                                         LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                           100 Washington Avenue South, Suite 2200
23                                         Minneapolis, MN 55401
                                           Telephone: (612) 339-6900
24                                         Facsimile: (612) 339-0981
25                                         kmbaxter-kauf@locklaw.com
                                           khriebel@locklaw.com
26

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     Notice of Withdrawal - 1                             Lockridge Grindal Nauen PLLP
                                                         100 Washington Ave S, Ste 2200
                                                                 Minneapolis, MN 55401
